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               EXHIBIT A
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Date             TKPR Name           Std Amt       Hrs                                                             Narrative
2/7/2020 Lopez, Janine                 $1,650.00    2.20 Conference with team and potential plaintiff; begin conducting research on Global Entry program.
2/7/2020 Theodore, Elisabeth S.          $990.00    1.00 Discuss potential complaint; emails with potential plaintiffs.
2/8/2020 Lopez, Janine                   $600.00    0.80 Draft section of complaint on Global Entry statute and regulations.
                                                         Research and write partial first draft of complaint in New York Global Entry case; assign research and drafting tasks
 2/8/2020   Tutt, Andrew               $1,837.50    2.10 among litigation team.
 2/9/2020   Lopez, Janine              $1,650.00    2.20 Conduct research on Global Entry program; begin drafting complaint.
 2/9/2020   Theodore, Elisabeth S.      $990.00     1.00 Call with potential plaintiff.
2/10/2020   Lopez, Janine              $5,025.00    6.70 Call with New York Attorney General's office; conduct research and draft section of complaint on Global Entry
2/10/2020   Tutt, Andrew                $700.00     0.80 Conference with NY AG regarding global entry lawsuits.
2/10/2020   Theodore, Elisabeth S.      $990.00     1.00 Work on plans for complaint.
2/11/2020   Lopez, Janine              $1,425.00    1.90 Revise introduction to draft complaint; add section on plaintiffs; discuss strategy with team.
2/11/2020   Theodore, Elisabeth S.     $2,079.00    2.10 Work on complaint and planning for lawsuit.
2/12/2020   Lopez, Janine               $450.00     0.60 Review draft complaint; telephone conference with team to discuss timing and strategy.
2/12/2020   Tutt, Andrew                $525.00     0.60 Conference to discuss New York global entry strategy in light of New York's lawsuit and other developments.
2/12/2020   Theodore, Elisabeth S.      $990.00     1.00 Confer with team and work on prepping for filing complaint.
2/13/2020   Lopez, Janine              $3,150.00    4.20 Revise draft complaint; conduct research on substantive rules; prepare motion for admission pro hac vice.
2/13/2020   Theodore, Elisabeth S.      $990.00     1.00 Work on complaint and other issues/prep for filing.
2/14/2020   Lopez, Janine              $2,175.00    2.90 Review and finalize complaint and exhibits; prepare motion for admission pro hac vice.
2/14/2020   Theodore, Elisabeth S.     $2,376.00    2.40 Finalize complaint for filing.
2/18/2020   Lopez, Janine               $300.00     0.40 File motion for admission pro hac vice; correspond with team regarding strategy.
2/18/2020   Theodore, Elisabeth S.      $495.00     0.50 Correspondence re: summons and filing issues.
2/19/2020   Lopez, Janine               $225.00     0.30 Team conference to discuss strategy.
2/19/2020   Tutt, Andrew                $437.50     0.50 Conference regarding lawsuit strategy in light of drawing Judge Leon as district judge.
2/21/2020   Theodore, Elisabeth S.      $495.00     0.50 Discuss next steps with team.
2/24/2020   Theodore, Elisabeth S.      $396.00     0.40 Review return of service filing.
2/25/2020   White, Graham               $750.00     1.00 Revise and file notice of proof of service.
2/26/2020   White, Graham               $750.00     1.00 Attention to filing of revised notice of proof of service.
2/26/2020   Theodore, Elisabeth S.      $693.00     0.70 Emails with team and work on procedural and filing issues; review latest developments in NY case.
2/27/2020   Lopez, Janine                 $75.00    0.10 Review correspondence regarding summons issue.
2/28/2020   White, Graham               $525.00     0.70 Team meeting to discuss status conference.
2/28/2020   Lopez, Janine               $600.00     0.80 Team meeting to discuss status conference and scheduling.
2/28/2020   Tutt, Andrew                $437.50     0.50 Conference regarding Global Entry lawsuit strategy.
2/28/2020   Theodore, Elisabeth S.      $990.00     1.00 Meet re: plan for status conference.
                                                         Draft, review, finalize, and electronically file Notice of Appearance in the U.S. District Court for the District of
 3/3/2020   Lindsey, Kathryne D.        $207.50     0.50 Columbia for Stephen Wirth.
 3/4/2020   Wirth, Stephen             $2,125.00    2.50 Attend and prepare for status conference.
 3/4/2020   Theodore, Elisabeth S.     $4,455.00    4.50 Prep for and attend status conference.
 3/5/2020   Lopez, Janine               $450.00     0.60 Meet with team to discuss status conference and plan for motion for partial summary judgment.
 3/5/2020   Theodore, Elisabeth S.      $495.00     0.50 Meet with team re: next steps for global entry lawsuit.
 3/6/2020   Theodore, Elisabeth S.      $495.00     0.50 Call with ACLU-NY.
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 Date               TKPR Name        Std Amt       Hrs                                                            Narrative
 3/8/2020   Tutt, Andrew                 $875.00    1.00   Send email setting forth roles for drafting motion for summary judgment.
3/10/2020   White, Graham              $2,100.00    2.80   Research for motion for partial summary judgment.
3/10/2020   Lopez, Janine                 $75.00    0.10   Review draft declarations.
3/10/2020   Theodore, Elisabeth S.       $990.00    1.00   Revise draft declarations for SJ motion.
3/11/2020   White, Graham              $5,250.00    7.00   Draft motion for partial summary judgment.
3/11/2020   Lopez, Janine              $1,800.00    2.40   Draft background section of motion for partial summary judgment.
3/11/2020   Jones, R. S.                 $990.00    1.00   Revise summary judgment brief and statement of undisputed material facts.
3/11/2020   Theodore, Elisabeth S.       $990.00    1.00   Review statement of undisputed material facts.
3/12/2020   White, Graham              $3,225.00    4.30   Draft and revise summary judgment motion and accompanying papers.
3/12/2020   Tutt, Andrew                 $787.50    0.90   Revise summary judgment motion and accompanying materials.
3/12/2020   Jones, R. S.                 $990.00    1.00   Revise summary judgment brief and statement of undisputed material facts.
3/12/2020   Theodore, Elisabeth S.     $3,465.00    3.50   Review MSJ, declarations, statement of undisputed facts.
3/13/2020   Lopez, Janine              $1,500.00    2.00   Review and revise draft motion for partial summary judgment and statement of undisputed facts.
3/13/2020   White, Graham              $3,150.00    4.20   Draft and revise summary judgment brief and related documents and attention to filing.
3/13/2020   Jones, R. S.                 $693.00    0.70   Revise summary judgment brief and statement of undisputed material facts.
3/13/2020   Theodore, Elisabeth S.     $3,465.00    3.50   Final review of MSJ documents for filing.
3/14/2020   Lopez, Janine                $225.00    0.30   Prepare corrected version of motion and memorandum; correspond with team regarding same.
3/16/2020   Lopez, Janine                $600.00    0.80   Prepare and file errata; correspond with Clerk's Office and team regarding same.
3/17/2020   Lopez, Janine                $150.00    0.20   Team correspondence regarding postponement of hearing and possible extension.
3/17/2020   Jones, R. S.                 $198.00    0.20   Correspondence with team re: government’s extension request.
3/18/2020   Theodore, Elisabeth S.       $792.00    0.80   Call with DOJ and then with team re scheduling.
3/18/2020   Wirth, Stephen               $595.00    0.70   Call with government re extension request; call with team re same.
3/18/2020   Tutt, Andrew                 $612.50    0.70   Conference regarding government extension request.
3/18/2020   Lopez, Janine                $225.00    0.30   Telephone conference regarding DOJ extension request.
3/19/2020   Lopez, Janine                $150.00    0.20   Review DOJ's extension request.
3/19/2020   Theodore, Elisabeth S.       $990.00    1.00   Call with DOJ re extension and call with team re: same.
3/26/2020   White, Graham                $450.00    0.60   Join telephonic conference in parallel SDNY Global Entry litigation.
 4/5/2020   Lopez, Janine                 $75.00    0.10   Team correspondence regarding reply brief and order in New York case.
 4/6/2020   Lopez, Janine                $375.00    0.50   Review government's opposition to motion for summary judgment.
 4/6/2020   Tutt, Andrew               $4,200.00    4.80   Research DC Circuit notice-and-comment precedents for use in Reply brief.
 4/6/2020   Theodore, Elisabeth S.     $1,485.00    1.50   Review government's summary judgment opposition brief.
 4/7/2020   Wirth, Stephen               $595.00    0.70   Teleconference with team.
 4/7/2020   Lopez, Janine                $675.00    0.90   Telephone conferences regarding reply brief and scheduling issues.
 4/7/2020   White, Graham              $4,875.00    6.50   Draft and revise reply brief supporting motion to dismiss and conduct related research.
 4/7/2020   White, Graham                $525.00    0.70   Review and analyze Government's opposition to summary judgment brief.
 4/7/2020   Tutt, Andrew                 $962.50    1.10   Review and share additional new DC Circuit precedent on harmless error in the context of failure to engage in notice
 4/7/2020   Theodore, Elisabeth S.     $2,574.00    2.60   Work on reply in support of summary judgment; call and emails with team.
 4/8/2020   Lopez, Janine                $600.00    0.80   Review draft reply brief.
 4/8/2020   White, Graham              $6,300.00    8.40   Draft and revise Reply Brief and conduct related research.
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 Date               TKPR Name        Std Amt       Hrs                                                             Narrative
 4/8/2020   White, Graham                $300.00    0.40   Draft response to Government's Notice on New York's amendment to Green Light Law.
 4/8/2020   Tutt, Andrew               $4,462.50    5.10   Review and revise Reply in support of motion for partial summary judgment.
 4/9/2020   Wirth, Stephen             $1,275.00    1.50   Revise reply.
 4/9/2020   Lopez, Janine              $2,400.00    3.20   Revise and revise reply brief in support of motion for partial summary judgment.
 4/9/2020   White, Graham              $2,475.00    3.30   Draft and revise reply brief and prepare for filing.
 4/9/2020   Tutt, Andrew               $1,837.50    2.10   Review final draft of reply in support of motion for partial summary judgment and response to notice.
 4/9/2020   Jones, R. S.               $1,980.00    2.00   Revise summary judgment reply brief and related communications with E. Theodore and team.
 4/9/2020   Theodore, Elisabeth S.     $2,970.00    3.00   Revise MSJ reply.
4/10/2020   White, Graham                $225.00    0.30   Draft and file Notice of Appearance.
4/10/2020   Theodore, Elisabeth S.       $396.00    0.40   Review Judge Leon order re: scheduling and emails with team.
4/17/2020   Lopez, Janine                 $75.00    0.10   Team correspondence regarding government's request for extension of answer deadline.
4/20/2020   Lopez, Janine                 $75.00    0.10   Team correspondence regarding extension of time to file answer.
4/21/2020   Lopez, Janine                 $75.00    0.10   Review government's motion for extension.
4/25/2020   Theodore, Elisabeth S.       $990.00    1.00   Emails and planning on global entry complaint.
4/26/2020   Lopez, Janine                 $75.00    0.10   Review developments in New York case.
4/27/2020   Lopez, Janine                $225.00    0.30   Review administrative record; correspond with team regarding same.
4/28/2020   Lopez, Janine                $150.00    0.20   Review administrative record and letter on privilege log.
4/28/2020   Theodore, Elisabeth S.       $693.00    0.70   Review latest updates from New York case.
                                                           Review administrative record and letter briefs and opinion regarding privilege log; telephone conference regarding
4/29/2020   Lopez, Janine              $1,275.00    1.70   plan for privilege log and motion for summary judgment on remaining claims.
4/29/2020   White, Graham              $1,875.00    2.50   Review and analyze Administrative Record and Judge Furman privilege log opinion.
4/29/2020   White, Graham               $450.00     0.60   Call with E. Thoedore, S. Wirth, A. Tutt, and J. Lopez to discuss administrative record.
4/29/2020   Tutt, Andrew                $525.00     0.60   Conference regarding how to proceed in light of administrative record (especially redactions in the AR).
4/29/2020   Theodore, Elisabeth S.     $1,485.00    1.50   Review administrative record and call re: global entry.
 5/1/2020   White, Graham               $225.00     0.30   Research D.C. Circuit precedent governing privilege logs in APA cases.
 5/1/2020   Lopez, Janine                 $75.00    0.10   Review filings in New York case.
 5/1/2020   Theodore, Elisabeth S.      $495.00     0.50   Discuss privilege log issues with team and DOJ.
 5/2/2020   Lopez, Janine                 $75.00    0.10   Review Judge Furman's decision on redactions.
 5/4/2020   Lopez, Janine                 $75.00    0.10   Correspond with team regarding privilege log.
5/12/2020   Theodore, Elisabeth S.        $99.00    0.10   Confer on next steps re: administrative record and redactions.
5/13/2020   White, Graham               $525.00     0.70   Prepare for team conference call (0.2); participate in team conference call to discuss litigation strategy (0.5).
5/13/2020   Lopez, Janine               $375.00     0.50   Call to discuss next steps regarding privilege log and summary judgment motion.
5/13/2020   Tutt, Andrew                $612.50     0.70   Conference to discuss strategy relating to the administrative record and summary judgment.
5/13/2020   Theodore, Elisabeth S.      $990.00     1.00   Discuss next steps and potential full summary judgment motion with team.
5/15/2020   White, Graham               $150.00     0.20   Call with Dena Roth to discuss privilege log.
5/15/2020   Theodore, Elisabeth S.      $198.00     0.20   Call with DOJ re: administrative record and redactions.
5/22/2020   Lopez, Janine                 $75.00    0.10   Review correspondence regarding administrative record.
 6/8/2020   White, Graham               $300.00     0.40   Attention to oral argument on summary judgment motion.
6/12/2020   White, Graham              $3,825.00    5.10   Prepare for oral argument on summary judgment motion.
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 Date               TKPR Name        Std Amt       Hrs                                                           Narrative
6/17/2020   White, Graham              $4,575.00    6.10 Prepare for oral argument on summary judgment motion.
6/18/2020   Glick, Kolya                 $975.00    1.30 Review briefing in Global Entry MTD for G. White moot
6/18/2020   Mirski, Sean               $1,200.00    1.60 Prepare for moot of G. White in advance of partial summary judgment hearing.
6/18/2020   White, Graham              $5,775.00    7.70 Prepare for oral argument on summary judgment motion.
6/19/2020   White, Graham              $4,875.00    6.50 Prepare for oral argument on summary judgment motion.
6/19/2020   Mirski, Sean               $2,925.00    3.90 Prepare for moot of G. White in advance of partial summary judgment hearing.
6/19/2020   Wirth, Stephen             $2,125.00    2.50 Prepare for and attend moot; email clients.
6/19/2020   Jones, R. S.                 $495.00    0.50 Moot argument with G. White and team.
6/19/2020   Lopez, Janine              $1,875.00    2.50 Attend moot; review materials.
6/19/2020   Tutt, Andrew               $1,750.00    2.00 Global entry moot court for summary judgment hearing on 6/22.
6/19/2020   Glick, Kolya               $1,350.00    1.80 Moot G. White for Summary Judgment hearing
6/19/2020   Theodore, Elisabeth S.     $2,475.00    2.50 Prep for and moot G. White for argument.
6/20/2020   White, Graham              $3,150.00    4.20 Prepare for oral argument.
6/21/2020   Cameron, Laurie A.            $93.00    0.30 Library Research Services for J. Lopez. Set-up docket alerts for New York v. Wolf, No. 20-cv-01127-JMF (S.D.N.Y.):
6/21/2020   White, Graham              $4,500.00    6.00 Prepare for oral argument.
6/21/2020   Tutt, Andrew               $1,050.00    1.20 Propose revisions to G. White's "spiel" for delivery at summary judgment hearing.
6/21/2020   Theodore, Elisabeth S.       $495.00    0.50 Review and comment on G. White notes for oral argument.
6/22/2020   White, Graham              $4,500.00    6.00 Prepare for oral argument.
6/22/2020   White, Graham                $750.00    1.00 Argue summary judgment motion before Judge Leon.
6/22/2020   Tutt, Andrew                 $962.50    1.10 Listen to oral argument on the motion for partial summary judgment.
6/22/2020   Lopez, Janine                $975.00    1.30 Attend hearing on motion for partial summary judgment; review oral argument materials.
6/22/2020   Wirth, Stephen             $1,445.00    1.70 Listen to oral argument; debrief call with team.
6/22/2020   Theodore, Elisabeth S.     $2,970.00    3.00 Call with government re scheduling; call with G. White to prep for hearing; attend hearing; follow up with team.
6/23/2020   White, Graham              $2,700.00    3.60 Draft and revise post-argument letter.
6/23/2020   Lopez, Janine              $1,200.00    1.60 Review and revise post-argument letter; review and analyze D.C. Circuit decision on notice-and-comment
6/24/2020   White, Graham                $525.00    0.70 Revise and file post-argument letter.
6/24/2020   Lopez, Janine                 $75.00    0.10 Review revisions to post-argument letter.
6/24/2020   Theodore, Elisabeth S.       $495.00    0.50 Edit follow up letter on good cause.
6/25/2020   White, Graham                $675.00    0.90 Review and analyze Government's opposition to post-argument letter.
6/25/2020   Lopez, Janine                 $75.00    0.10 Review government's response to post-argument letter.
6/25/2020   Theodore, Elisabeth S.       $990.00    1.00 Review government response to post-argument letter.
6/30/2020   Lopez, Janine                $300.00    0.40 Review draft protective order and correspond with team regarding proposed modifications.
 7/1/2020   Lopez, Janine                $225.00    0.30 Review potential notice of additional authority and correspond with team regarding same.
7/23/2020   White, Graham                $225.00    0.30 Review and analyze Government's letter of correction.
7/23/2020   Wirth, Stephen               $680.00    0.80 Review government correction; emails with team.
                                                         Analyze DOJ’s letter re: inaccurate and misleading statements and related legal research re: mootness and sanctions;
7/23/2020 Jones, R. S.                  $990.00     1.00 communications with team re: same.
7/23/2020 Tutt, Andrew                  $875.00     1.00 Review Government filing correcting the record and conference with team regarding next steps.
7/24/2020 White, Graham                 $450.00     0.60 Call to discuss strategy following Government's filing of Notice of Correction.
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 Date               TKPR Name        Std Amt        Hrs                                                            Narrative
7/24/2020   Jones, R. S.                 $594.00     0.60   Communications with team re: DOJ’s letter : inaccuracies and next steps.
7/24/2020   Wirth, Stephen               $595.00     0.70   Team strategy meeting re government correction notice; emails re same.
7/24/2020   Tutt, Andrew                 $875.00     1.00   Conference to discuss revelations of government misrepresentations in the case and steps we should take in
7/27/2020   White, Graham                $225.00     0.30   Call with N.Y. Attorney General's office to discuss next steps in litigation.
7/27/2020   Theodore, Elisabeth S.       $297.00     0.30   Call with NYAG re next steps in light of government letter conceding.
7/27/2020   Jones, R. S.                 $495.00     0.50   Call with NYAG’s office re: next steps.
7/28/2020   White, Graham                $675.00     0.90   Prepare for meet and confer with Government's counsel (0.5); meet and confer with Government's counsel.
7/28/2020   Lopez, Janine                $150.00     0.20   Review letters filed in New York case regarding mootness.
7/28/2020   Jones, R. S.                 $495.00     0.50   Attend status conference with the court and related debrief with G. White.
7/29/2020   White, Graham              $2,625.00     3.50   Prepare for status conference.
7/29/2020   White, Graham                $375.00     0.50   Attend status conference.
7/29/2020   Lopez, Janine                 $75.00     0.10   Attend telephonic status conference.
7/29/2020   Tutt, Andrew                 $612.50     0.70   Attend hearing regarding misrepresentations in the Government's filings in the case.
                                     $206,801.00   251.60
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                                               Cost
 Date       Disb ID          TKPR Name         Code           Cost Desc        Base Amt                                                                Narrative                                                                     Clt      Mtr
                                                                                        VENDOR: Shemaiah Strickland INVOICE#: 4018577902201618 DATE: 2/20/2020 02/18/20; Certificate of Good Standing; Obtain Certificate of Good
2/18/2020   27882118 Strickland, Shemaiah T.    187 Filing Fees                  $25.00 Standing for Andrew Tutt for case.; DC Bar                                                                                                  9000544     2
2/14/2020   27885250 White, Graham              187 Filing Fees                 $400.00 VENDOR: White, Graham INVOICE#: 4020881002211741 DATE: 2/20/2020 02/14/20; Filing Fees; File complaint for case.                            9000544     2

2/18/2020   27885413 Lopez, Janine              187 Filing Fees                 $100.00 VENDOR: Janine Lopez INVOICE#: 4020890702211741 DATE: 2/20/2020 02/18/20; Court Admission Fee; Pro Hac admission fees.; DC District Court   9000544     2
                                                                                         VENDOR: Tutt, Andrew INVOICE#: 4062134903091659 DATE: 3/6/2020 03/04/20; Court Admission Fee; Court admission to the DC District Court.;
 3/4/2020   27906515   Tutt, Andrew             187   Filing Fees               $206.00 DISTRICT OF COLUMBIA DISTRICT COURT                                                                                                         9000544     2
 4/6/2020   27931398   Firm approved            147   Westlaw Research         $1,287.00 Westlaw computer research by TUTT ANDREW MULTI-SEARCH TRANSACTIONAL SEARCHES                                                               9000544     2
 4/6/2020   27931399   Firm approved            147   Westlaw Research         $1,425.60 Westlaw computer research by TUTT ANDREW MULTI-SEARCH DOCUMENT DISPLAYS                                                                    9000544     2
 4/9/2020   27938804   Firm approved            147   Westlaw Research            $85.80 Westlaw computer research by TUTT ANDREW MULTI-SEARCH TRANSACTIONAL SEARCHES                                                               9000544     2
 4/8/2020   27938805   Firm approved            147   Westlaw Research          $648.00 Westlaw computer research by TUTT ANDREW MULTI-SEARCH DOCUMENT DISPLAYS                                                                     9000544     2
 4/8/2020   27938806   Firm approved            147   Westlaw Research          $772.20 Westlaw computer research by TUTT ANDREW MULTI-SEARCH TRANSACTIONAL SEARCHES                                                                9000544     2
6/18/2020   27972021   Firm approved            147   Westlaw Research            $85.80 Westlaw computer research by WHITE GRAHAM Transaction - Search MULTI-SEARCH TRANSACTIONAL SEARCHES                                         9000544     2
6/19/2020   27972022   Firm approved            147   Westlaw Research            $85.80 Westlaw computer research by WHITE GRAHAM Transaction - Search MULTI-SEARCH TRANSACTIONAL SEARCHES                                         9000544     2

6/24/2020   27974100 White, Graham              837 Transcripts                   $33.30 VENDOR: White, Graham INVOICE#: 4191656406241657 DATE: 6/24/2020 06/24/20; Transcript Fees; Order transcript from oral argument.           9000544     2
6/23/2020   27976360 Firm approved              147 Westlaw Research             $171.60 Westlaw research by WHITE GRAHAM MULTI-SEARCH TRANSACTIONAL SEARCHES                                                                       9000544     2
6/30/2020   27994539                           1501 Other Computer Research       $12.60 VENDOR: Pacer Service Center INVOICE#: 3935819-Q22020 DATE: 7/7/2020 Pacer usage for the period 4/1/2020 to 6/30/2020                      9000544     2
                                                                               $5,338.70
